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                                   EXHIBIT H
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                                                               u.s. Department of Justice


                                                               United States Attorney
                                                               District of Massachusetts
                                                               John Joseph Moakley u.s. Courthouse, Suite 9200
Writer's Direct Dial Number:
(617) 748-3272                                                 1 Courthouse Way
Telecopier: (617) 748-3971                                     Boston, Massachusetts 02210



                                                               August 21, 2009

Eric T. Gortner, Esq.
Kirkland & Ellis LLP
200 E. Randolph Street
74th Floor
Chicago, IL 60601

          Re: United States of America ex reI. Ven-a-Care of                      the Florida Keys, Inc. v.
                     Boehringer Ingelheim Corp., et aI., Civil Action No. 07-l0248-PBS, MDL
                     No. 1456


Dear Eric:

           The United States is prepared to produce to the defendants in the above-referenced
action ("the Litigation"), Roxane Laboratories, Inc., n/k/a Boehringer Ingelheim Roxane,
Inc., Roxane Laboratories, Inc., Boehringer Ingelheim Corporation, and Boehringer
Ingelheim Pharmaceuticals, Inc. (collectively, the "Boehringer/Roxane defendants")
copies of certain Red Book CD ROMs, listed in the attached schedule (the "Red Book
CDs"). As you may know, the use and reproduction of         these CD ROMs are restricted
under the terms of licensing agreements between Red Book and the DMERCs from
whom the CDs originate. The United States has reached agreement with Thompson
Reuters Healthcare (the owner of Red Book) that these materials may be reproduced and
used in this Litigation, subject to certain conditions. A copy of the letter-agreement
between the United States and Thompson Reuters Healthcare is enclosed for your
information. The conditions include that any defendant receiving copies of these CDs
agree to terms and conditions that restrict the use and copying of the CDs, as set forth
below. Accordingly, please indicate the agreement of the Boehringer/Roxane defendants
to the terms and conditions set forth below, by co-signing this letter and returning the
signed copy to me.
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Eric T. Gortner, Esq.
August 21, 2009
Page 2

         Terms and Conditions

       The Boehringer/Roxane defendants agree that any copying and/or use of the Red
Book CDs shall be made solely for the purposes of the Litigation and for no other
purpose. The Boehringer/Roxane defendants further agree that any use or disclosure of
any information in the Red Book CDs, except to the extent permitted in the preceding
sentence, is prohibited and subject to the terms of the Protective Orders entered by the
Court in the Litigation.

       The Boehringer/Roxane defendants hereby acknowledge that Thomson Reuters
Healthcare makes no representation or warranty whatsoever, express or implied,
including without limitation any warranty of merchantability, of fitness for a particular
purpose, or non-infringement regarding the content of the CD ROMs provided by
Palmetto GBA and the United States to defendants pursuant to this agreement, or any
warranty that the content of the CD ROMs wil be free from errors. In no event will
Thomson Reuters Healthcare be liable for any indirect, incidental, special, or
consequential damages arising from or caused by use of, reliance on, or inability to access
and use any information contained in the CD ROMs even if Thompson Reuters
Healthcare has been previously advised of the possibility of such damages or losses.




                                                  ~~~
                                                 Sincerely,


                                                 George B. Henderson, II
                                                 Assistant U. S. Attorney




~\~~~
Agreed To:




Eric T. Gortner, Esq.
On Behalf of the Boehringer/Roxane Defendants


cc: Thomas Cahill
         Joan Rosenstock
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 Schedule of Red Book Quarterly CDs

    1997       Oct       Palmetto     Vol. 6 CD
    1998       Jan       Palmetto     Vol. 7 CD
    1998       Jul       Palmetto     Vol. 9 CD
    1999       Mar       Palmetto     Vol. 12 CD
    1999       Jul       Palmetto     Vol. 13 CD
    1999       Oct       Palmetto     Vol. 14 CD
    2000       Apr       Palmetto     Vol. 16 CD
    2000       Jul       Palmetto     Vol. 17 CD
    2000       Oct       Palmetto     Vol. 18 CD
    2001       Jan       Palmetto     Vol. 19 CD
    2001       Apr       Palmetto     Vol. 20 CD
    2001       Jul       Palmetto     Vol. 21 CD
    2001       Oct       Palmetto     Vol. 22 CD
    2002       Jan       Palmetto     Vol. 23 CD
    2002       Apr       Palmetto     Vol. 24 CD
                                      Vol. 26 CD, with
    2002       Oct        CIGNA       floppy disc
    2003       Jan        CIGNA       Vol. 27 CD
    2003       Apr        CIGNA       Vol. 28 CD
    2003       Jul        CIGNA       Vol. 29 CD
    2003       Oct        CIGNA       Vol. 30 CD
